Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 1 of 10 PageID# 2149




                  IN THE UNITED      STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division



JAMEL LAW,

             Petitioner,                   Criminal No.    l:10-cr-477
v.                                         Civil Action No.    l:13-cv-528

UNITED STATES OF AMERICA,

             Respondent.

                            MEMORANDUM OPINION


     This case is before the Court on the Motion of Jamel Law

("Petitioner")    to Vacate,   Set Aside,    and/or Correct Sentence

pursuant to 28 U.S.C.      § 2255.

     The Petitioner was convicted of conspiracy to distribute

280 or more grams of cocaine base and/or 100 grams or more of

heroin, in violation of 21 U.S.C. §§ 841(a)(1), 846. Discovery

began after the Petitioner's January 7, 2011, arrangement, and a

trial was set for May 31, 2011.          Petitioner's counsel, Gregory

T. Hunter,    Esq.,   ("Counsel")    so served until he was substituted

in April 29, 2011, with Gretchen Taylor, Esq.             On May 5, 2011,

the Petitioner's Motion to Substitute Counsel was withdrawn when

he became unsatisfied with her performance and desired his prior

counsel.     Counsel then resumed Petitioner's representation,

which the Court explained on May 10, 2011.          Petitioner

subsequently pleaded guilty of the charged offense.
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 2 of 10 PageID# 2150




       Petitioner was sentenced on July 22, 2011.       The government

filed a position paper on sentencing three days beforehand, and

Petitioner's counsel responded one day beforehand.          Petitioner

was sentenced to 210 months incarceration, resulting from a one

level reduction in the Petitioner's criminal history level.

Petitioner's counsel argued for a reduction both in his position

paper and at the sentencing hearing, and the incarceration level

was less than the government's recommendation of a sentence

within 235 to 293 months. Petitioner appealed his sentence,

despite waiving his appeal rights in his plea agreement, on

August 3, 2011.      Because of his waiver, the U.S. Court of

Appeals for the Fourth Circuit granted the government's Motion

to Dismiss on February 16, 2012.       Petitioner timely filed this

instant motion on April 30, 2013.

       In his present motion,    Petitioner presents one argument for

this Court to discard his sentence:       that the ineffective


assistance of his counsel violated his rights guaranteed by the

Sixth Amendment to the U.S.      Constitution.    See Pet'r Mot.   Filed


Apr.   30, 2013,   at 2.   As explained infra,   Petitioner's sole

argument is meritless, compelling this Court to deny his motion

and accompanying request for an evidentiary hearing.

       For Petitioner's claim of ineffective assistance of counsel

to prevail,   he must establish that:    (1)   his counsel committed

errors so serious that his performance fell "below an objective
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 3 of 10 PageID# 2151




standard of reasonableness/" and (2) "the deficient performance

prejudiced [Petitioner's] defense."              Strickland v. Washington,

466 U.S.   668,   688,    687    (1984).    The Fourth Circuit refers to

these two "prongs" of the Strickland test as the "performance

prong" and the "prejudice prong," respectively.                  See Fields v.

Attorney Gen,     of Md.,       956 F.2d 1290,    1297   (4th Cir.   1992).

Petitioner bears a heavy burden here,              see Strickland,       466 U.S.

at 689-90, and properly so because this "intrusive post-trial

inquiry" must not threaten a reliable result.                  See id. (noting

that "it is all too tempting" to "second guess counsel's

assistance after conviction or adverse sentence.").

Strickland's concern for reliability is particularly at risk

where, as here,     Petitioner's argument controverts statements he

made under oath during a plea colloquy expressing satisfaction

with his counsel,        see Fields,       956 F.2d at 1299.     Those

statements are binding on the Petitioner absent clear and

convincing evidence to the contrary.               See id.

     Turning to the "performance prong," the Petitioner provides

no credible - let alone clear and convincing - evidence that his

counsel did not function within the realm guaranteed by the

Sixth Amendment.         The Petitioner argues that his counsel

provided an insufficient investigation into his defense.

"Argue" is perhaps too strong; the most Petitioner claims is

that he "began to suspect" deficiencies.                 See Pet'r Mot.     Filed
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 4 of 10 PageID# 2152




Apr.    30, 2013, at 4.          Petitioner further states that he only

reinstated his counsel after "implications" that this counsel

"possessed some special influence over the prosecution," see id.

at 5, which is uncorroborated.             He also claims that his counsel

"arguably" filed his position with respect to the sentencing

factors too late to be effective, though still before the

deadline.       See   id.   at   6.


        Petitioner's conclusory and hesitant statements regarding

his counsel's conduct provide no showing of the "extraordinary

circumstances" needed to credibly contradict his sworn

statements of satisfactory representation at the Rule 11

colloquy.       Cf.    United States v. Lemaster,       403 F.3d 216, 221

(4th Cir. 2005).            The Strickland test affords a strong

presumption that counsel's attention to one issue at the expense

of another is a tactical judgment and not neglect.               Cf.

Yarborough v. Gentry,            540 U.S. 1, 8 (2003)   (per curiam).    Here,

the Petitioner has nothing more than a mere suspicion that his

counsel's performance was deficient - seemingly based only on

the Petitioner's disappointment that his counsel did not want to

rely on witnesses that involved the Petitioner in his crime.                   By

itself, this does not constitute deficient performance.                 See,

e.g.,    Huffinqton v. United States, 140 F.3d 572, 580-82 (4th

Cir.    1998)   ("eyewitnesses [not] critical to the determination of

guilt" need not be interviewed by counsel).
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 5 of 10 PageID# 2153




     In some portions of his brief, not even Petitioner seems

persuaded by his case.     Petitioner's brief suggests that, right

up until his guilty plea was formally entered,        the adequacy of

his counsel's performance "might still be an area of objective

disagreement." See Pet'r Mot.     Filed Apr.   30, 2013, at 8. By

itself, this concedes that his counsel's conduct during the plea

negotiation satisfies the Strickland test.        See 466 U.S. at 690-

91 (finding that counsel's performance need not be correct,

merely objectively reasonable).

     Even if Petitioner's brief did not concede the adequacy of

his counsel's conduct during the plea stage, the Rule 11

colloquy reveals that the Petitioner knowingly,        voluntarily, and

intelligently pleaded guilty.      The only evidence the Petitioner

purports in response is an allegation that his counsel led him

to plead guilty because his special relationship with the

prosecution would soften the sentence.         Such an unsupported

allegation by a Petitioner who reviewed the plea agreement he

signed with counsel does not rise to the level of "extraordinary

circumstances."    Cf.   Fontaine v. United States,    411 U.S.    213

(1973) (Holding that a Petitioner who provides documented

evidence of severe mental and physical illness,        and is also

without counsel at the time of his guilty plea,        satisfies

extraordinary circumstances).
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 6 of 10 PageID# 2154




     Petitioner also alleges that his counsel deficiently

pursued a sentencing reduction.      The Petitioner points to the

filing of his counsel's position paper on the sentencing factors

as an example of his delinquency.        Yet not even the Petitioner

admits that counsel filing this document a day before sentencing

- a timely filing - is anything more than "arguably" deficient.

See Pet'r Mot. Filed Apr.    30, 2013,    at 6. Not only is an

"arguable" deficiency not a deficiency for purposes of

Strickland,   the facts reveal the reasonableness of his counsel's

conduct:     the government's position paper, to which counsel was

responding, was filed only two days before counsel filed his

paper.     Taking two days to review and timely respond to a

position paper from the United States government is hardly

outside the realm of professional acceptability.

     Petitioner's final allegation of deficient performance

results from the government declining to move for a sentencing

reduction.    According to the Petitioner,     it was "unusual" that

this had not happened - despite his plea agreement stating that

such a move would be within the government's "sole discretion."

See Resp't. Ex. B, at 10, 13. Petitioner provides a baseless

allegation that his counsel said he would receive a sentencing

reduction based on his cooperation with the government.          Yet the

evidence of Petitioner's assent to the plea agreement, and all

of its plain terms, is clear by his signature.
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 7 of 10 PageID# 2155



        Accordingly,   I find Petitioner's argument devoid of clear

and convincing evidence of deficient performance.

        In turning to the "prejudice prong," it is notable that

"[f]ailure to make the required showing of either deficient

performance or sufficient prejudice defeats the ineffectiveness

claim."     Strickland,   466 U.S.      at 700.    Yet here,   like in

Strickland,    "there is a double failure" because the Petitioner

cannot evince prejudicial error,           in addition to his failure to

show deficient performance.          See id.      This is so because the

Petitioner's allegations do not show a reasonable probability

that,    but for any purported errors of counsel,          he would not have

pleaded guilty and gone to trial.            See Hooper v. Garraghty,      845

F.2d 471,    475   (4th Cir.   1988).

        Petitioner's claim that he would have proceeded to trial if

his counsel did not induce him to plead guilty is controverted

by the Rule 11 colloquy, and his counsel's performance.

Contrary to the Petitioner's assertion that his counsel was

thwarting his efforts for a trial, his counsel filed pre-trial

motions and reviewed discovery.            Yet even if his counsel could

have been better, any prejudice is belied by the Petitioner

agreeing to waive his right to a jury trial in the plea.                 This

Court inquired whether the Petitioner was satisfied with his

representation, whether he was aware of his right to a trial,

the possibility of his sentence, and whether he was guilty as
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 8 of 10 PageID# 2156




charged - all to which he replied affirmatively.                  When "the

trial court properly inform[s]         [the Petitioner] of the potential

sentence he faced,    he [can] not be prejudiced by any

misinformation his counsel allegedly provided him."                  See United

States v. Foster,    68 F.3d 86,      88       (4th Cir.   1995). Thus,   even to

the extent that Petitioner's allegations regarding counsel's

preparation for a guilty plea are true, his acknowledgment of

guilt in open court after the colloquy eliminates the

possibility of prejudice from them.

     Petitioner also alleges prejudice from counsel's conduct in

his sentencing - namely,       that the timing of his counsel's

position paper filing did not allow this Court to consider his

view of sentencing.     According to the Petitioner, "[o]nly the

sua sponte intervention of the sentencing judge, not the

argument or efforts of counsel,            spared Petitioner from a Level

VI [c]riminal history, which the judge reduced to a Level V."

See Pet'r Mot.    Filed Apr.    30,   2013,       at 10.    Yet this Court

agreed with Petitioner's counsel that his criminal history score

should be reduced - and did so after counsel's arguments.                     See

Resp't. Ex. D, at 8.     The fact that this Court did not accept

all of counsel's arguments does not make his performance

prejudicial.

     Finally,    Petitioner alleges prejudice from the government

not moving for a sentencing reduction,               despite his counsel's

                                           8
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 9 of 10 PageID# 2157



purported promise that they would.       Even if such a promise

occurred and constituted deficient performance,        it would still

not surmount the "formidable barrier" erected by Petitioner's

knowing, intelligent, and voluntary guilty plea that gave the

government sole discretion over such motions.         Cf. Lemaster,      403

F.3d 216,   221. The plea agreement's plain terms make no secret

of the government's discretion in this regard - it is mentioned

twice. He told this Court during his Rule 11 colloquy that he

reviewed this plea with his counsel,      and understood that he

could receive the same punishment a jury would render if he was

tried and convicted.     Petitioner thus provides this Court no

evidence to second-guess his own statements and signature.            Cf.

Fields,   956 F.2d at 1299.

     The choice to plead guilty is made by the defendant alone,

not a surrogate.    See Florida v. Nixon,     543 U.S. 175, 187

(2004).     Petitioner possessed control over his representation,

as he demonstrated through his decision to remove and then

reinstate his counsel.    His guilty plea and sentence were the

just and reliable results of the proceedings against him,          and

evince no prejudice.

     An evidentiary hearing is only necessary when it is not

"clear from the pleadings and the files and records that the

prisoner is entitled to no relief . . . ." Raines v. United

States, 423 F.2d 526, 530     (4th Cir. 1970) Here,    the pleadings,
Case 1:10-cr-00477-CMH Document 339 Filed 09/13/13 Page 10 of 10 PageID# 2158




files,   and records are sufficient for this Court to determine

that Petitioner's unsupported, conclusory allegations entitle

him to neither an evidentiary hearing nor § 2225 relief.

     An appropriate order shall issue.




                                                          M.
                                                    Claude M. Hilton
                                               United States District Judge



Alexandria, Virginia
September   A?   , 2013




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